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BLD-063
    UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                    C.A. No. 22-2808

                          SALVATORE CHIMENTI, Appellant

                                              v.

                       SUPERINTENDENT CRESSON SCI, et al.

                            (E.D. Pa. Civ. No. 2:98-cv-06151)

Present:       AMBRO, KRAUSE, and PORTER, Circuit Judges

               Submitted are:

               (1)   By the Clerk for possible dismissal due to a jurisdictional defect;

               (2)   By the Clerk for possible summary action under 3d Cir. L.A.R. 27.4
                     and I.O.P. 10.6; and

               (3)   Appellant’s “Application for a Certificate of Appealability and
                     Consolidated Brief in Support”

               in the above-captioned case.

                                          Respectfully,


                                          Clerk

________________________________ORDER_________________________________

       This appeal is dismissed for lack of jurisdiction. Appellant again seeks to appeal
from the District Court’s order transferring his Federal Rule of Civil Procedure 60(b)
motion to this Court for consideration as an application to file a second or successive
petition under 28 U.S.C. § 2254. See 28 U.S.C. § 2244. The transfer order is not
appealable. See Murphy v. Reid, 332 F.3d 82, 83-85 (2d Cir. 2003) (per curiam); see
also Subsalve USA Corp. v. Watson Mfg., Inc., 462 F.3d 41, 47 (1st Cir. 2006). Because
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we lack appellate jurisdiction, we do not reach the issues concerning possible summary
action or issuance of a certificate of appealability.

        Although we lack jurisdiction over the appeal, we direct the Clerk to transfer
Chimenti’s “Application for a Certificate of Appealability and Consolidated Brief in
Support” (COA Application) to the District Court for consideration as a motion under
Federal Rule of Civil Procedure 60(b). See 28 U.S.C. § 1631 (permitting transfers in the
interest of justice). We note that Chimenti’s COA Application is essentially a “true”
Rule 60(b) motion, as he argues, inter alia, that the integrity of the § 2254 proceedings
was “significantly flawed” because the Commonwealth withheld “internal files
contain[ing] memoranda demonstrating that” it “had for years believed that [Chimenti’s
trial] counsel suborned perjury.” (Doc. 8, at 6 of 24); see Gonzalez v. Crosby, 545 U.S.
524, 532-33 (2005). We express no opinion on the timeliness or the merits of the claims
raised in Chimenti’s COA Application treated as a Rule 60(b) motion.



                                         By the Court,


                                         s/Thomas L. Ambro
                                         Circuit Judge

Dated: January 13, 2023
Michael Wiseman, Esq.
Thomas C. Gaeta, Esq.
Ronald Eisenberg, Esq.

                                                                A True Copy:



                                                                Patricia S. Dodszuweit, Clerk
                                                                Certified Order Issued in Lieu of Mandate
